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                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                            Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
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                                                                                                                    Adversary Case No. 21-01167-abl
                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,
                                                                                                                    PLAINTIFF HASELECT-MEDICAL
                                                      16                         Plaintiff,                            RECEIVABLES LITIGATION
                                                                                                                    FINANCE FUND INTERNATIONAL
                                                      17   v.                                                        SP’S STATEMENT OF DISPUTED
                                                                                                                         FACTS IN RESPONSE TO
                                                      18   TECUMSEH–INFINITY MEDICAL                                 TECUMSEH-INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,                                        RECEIVABLE FUND, LP’S
                                                      19                                                                 MOTION FOR PARTIAL
                                                                                Defendant.                            SUMMARY JUDGMENT AS TO
                                                      20                                                                   DIRECT PURCHASE
                                                                                                                             RECEIVABLES
                                                      21
                                                           TECUMSEH–INFINITY MEDICAL
                                                      22   RECEIVABLES FUND, LP,
                                                                                                                    Hearing Date: October 25, 2022
                                                      23                       Counter-Claimant,                    Hearing Time: 1:30 p.m.
                                                      24   v.
                                                      25   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      26   INTERNATIONAL SP,
                                                      27                        Counter-Defendant.
                                                      28


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                                                       1   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       2   INTERNATIONAL SP,
                                                       3                          Counter-Claimant,
                                                       4   v.
                                                       5   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                 Counter-Defendant.
                                                       7

                                                       8          Pursuant to LR 7056, HASelect-Medical Receivables Litigation Finance Fund International

                                                       9   SP (“HASelect”), by and through its undersigned counsel, respectfully submits this following

                                                      10   statement of disputed facts in support of its opposition (the “Opposition”) to the Motion for Partial

                                                      11   Summary Judgment as to Direct Purchase Receivables [ECF No. 90] (the “Motion”).
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                                                      12           TECUMSEH’S UNDISPUTED FACTS                     HASELECT’S RESPONSE AND
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                                                                   AND SUPPORTING EVIDENCE                         SUPPORTING EVIDENCE
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                                                            1.     The Debtor was in the business of               HASelect admits that a significant aspect
                                                      14           purchasing receivables from medical             of Debtor’s business involved the
                                                                   providers, which receivables typically arose    purchase of accounts receivable from
                                                      15           from medical treatment provided to              various medical providers pursuant to
                                                                   individuals who were injured in accidents       hundreds of written contracts entered into
                                                      16           (the “Plaintiff(s)”) who then asserted          by and between Debtor and such medical
                                                                   personal injury claims arising from the         providers.
                                                      17           accidents (the “Receivables”).
                                                                                                                   HASelect further admits that such
                                                      18           Both volumes of Rule 2004 Transcript of         accounts receivable in many cases arose
                                                                   Oliver Hemmer’s testimony are attached          from medical treatment provided to
                                                      19           hereto as Exhibit A, (“Hemmer Dep.              individuals who were injured in accidents
                                                                   Vol.”);                                         and later asserted personal injury claims
                                                      20                                                           arising from such accidents.
                                                                   See Exhibit A, Hemmer Dep. Vol. I at 42:1-
                                                      21           46:15; Vol. II at 175:7-179:3.                  HASelect denies that the purchase of
                                                                                                                   accounts receivable was the sole business
                                                      22                                                           activity of Debtor. Debtor also entered
                                                                                                                   into a significant number of transactions
                                                      23                                                           in which it loaned funds to medical
                                                                                                                   providers. While such transactions
                                                      24                                                           involved an advance of funds by Debtor
                                                                                                                   and were typically designated by Debtor
                                                      25                                                           as a purchase of an account receivable,
                                                                                                                   Debtor did not actually acquire ownership
                                                      26                                                           of or the right to collect the account
                                                                                                                   receivable in question. Rather, the
                                                      27                                                           medical provider retained ownership of
                                                                                                                   and all rights to collect the account
                                                      28


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                                                                                                          receivable and generally bore the risk of
                                                       1                                                  non-payment of the account receivable.
                                                                                                          Neither the individual obligated as to
                                                       2                                                  payment of the account receivable nor that
                                                                                                          individual’s attorney was informed of any
                                                       3                                                  transaction involving Debtor, nor were
                                                                                                          they instructed to pay any amount to
                                                       4                                                  Debtor. Moreover, Debtor did not receive
                                                                                                          any direct lien against such individual’s
                                                       5                                                  personal injury claim to secure payment
                                                                                                          of amounts owed to Debtor by the medical
                                                       6                                                  provider. Rather, all such lien rights were
                                                                                                          given to and retained by the medical
                                                       7                                                  provider.
                                                       8                                                  In consideration of the funds received
                                                                                                          from Debtor, the medical provider agreed
                                                       9                                                  to pay Debtor a predetermined amount
                                                                                                          consisting of the repayment of the funds
                                                      10                                                  advanced by Debtor and an additional
                                                                                                          fixed fee that typically varied depending
                                                      11                                                  on the length of time that passed between
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                                                                                                          the advance of funds by Debtor and
                                                      12                                                  collection of the account receivable by the
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                                                                                                          medical provider. The medical provider
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                                                                                                          was generally obligated to pay such
                                                                                                          predetermined amounts to Debtor even if
                                                      14                                                  the subject account receivable proved to
                                                                                                          be uncollectible or the amount collected
                                                      15                                                  was insufficient to pay the entire amount
                                                                                                          owed to Debtor. The medical provider
                                                      16                                                  retained all rights to funds collected in
                                                                                                          excess of the predetermined amount owed
                                                      17                                                  to Debtor. The medical provider also had
                                                                                                          the right to repay the funds advanced by
                                                      18                                                  Debtor along with the applicable fixed fee
                                                                                                          at any time without penalty regardless of
                                                      19                                                  whether collection had occurred in which
                                                                                                          case the medical provider’s obligation to
                                                      20                                                  Debtor would be fully satisfied.
                                                      21                                                  Examples of such loan transactions
                                                                                                          include transactions occurring pursuant to
                                                      22                                                  written contracts between Debtor and
                                                                                                          Cuevas Diagnostics, LLC d/b/a Stat
                                                      23                                                  Diagnostics (“Stat”), Preva Advanced
                                                                                                          Surgicare – The Woodlands, LLC
                                                      24                                                  (“Preva”), and Viking Pain Management,
                                                                                                          LLC (“Viking”). Tecumseh was not a
                                                      25                                                  party to Debtor’s contracts with Stat,
                                                                                                          Preva, or Viking. Debtor’s rights under
                                                      26                                                  such contracts were not assignable to
                                                                                                          without the prior written consent of the
                                                      27                                                  counter party and were, in fact, never
                                                                                                          assigned to Tecumseh. HASelect held a
                                                      28


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                                                                                                                perfected, first-priority security interest in
                                                       1                                                        all of Debtor’s rights to payment under
                                                                                                                such contracts as of the filing of Debtor’s
                                                       2                                                        chapter 7 petition on September 14, 2021.
                                                                                                                Transactions between the Debtor and Stat,
                                                       3                                                        Preva, and Viking make up more than
                                                                                                                60% of the face value of the Direct
                                                       4                                                        Purchase Receivables that are the subject
                                                                                                                of Tecumseh’s Motion. Similar loan
                                                       5                                                        transactions occurred between Debtor and
                                                                                                                a small number of other medical
                                                       6                                                        providers.
                                                       7                                                        HASelect further denies that all accounts
                                                                                                                receivable purchased or funded by Debtor
                                                       8                                                        arose from medical treatment provided to
                                                                                                                Plaintiffs. Debtor also funded accounts
                                                       9                                                        receivable relating to the purchase of
                                                                                                                prescription medication pursuant to a
                                                      10                                                        written contract between Debtor and
                                                                                                                ExpressCHEX LLC d/b/a Buena Vista
                                                      11                                                        Medical Services (“Buena Vista”).
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                                                      12                                                        See HASelect’s Exhibits 28 through 34.
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                                                           2.    The Receivables were secured by liens          HASelect admits that many accounts
                                                                 against recovery on the personal injury        receivable acquired by Debtor were
                                                      14         claims; the Debtor only recovered on its       secured by liens against the recovery on
                                                                 Receivables when Plaintiff’s personal injury   the corresponding personal injury claims
                                                      15         claims were settled.                           and that Debtor typically collected on
                                                                                                                such accounts receivable only when such
                                                      16         See Exhibit A, Hemmer Dep. Vol. II at          personal injury claims were settled.
                                                                 44:20-47:3; Hemmer Dep. Vol. II at 176:8;
                                                      17         Hemmer Dep. Vol. II at 180:4-183:8.            HASelect otherwise denies this Statement
                                                                                                                of Fact. Amounts owed to Debtor
                                                      18                                                        pursuant to Debtor’s written contracts
                                                                                                                with Stat, Preva, Viking, and certain other
                                                      19                                                        medical providers were generally not
                                                                                                                secured by any direct lien held by Debtor
                                                      20                                                        against any recovery on any personal
                                                                                                                injury claim. HASelect further denies that
                                                      21                                                        Debtor recovered such amounts only
                                                                                                                when a personal injury claim was settled.
                                                      22                                                        Under their written contracts with Debtor,
                                                                                                                Stat, Preva, Viking, and certain other
                                                      23                                                        medical providers had the right to repay
                                                                                                                Debtor at any time.
                                                      24
                                                                                                                See HASelect’s Exhibits 28 through 34.
                                                      25
                                                           3.    The Debtor used proceeds of its loan from      HASelect admits that Debtor used
                                                      26         HASelect to purchase Receivables on its        proceeds of its loan from HASelect to
                                                                 own account and to fund its operations.        purchase accounts receivables on its own
                                                      27                                                        account and to fund its operations.
                                                      28


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                                                                 See Exhibit A, Hemmer Dep. Vol. I at         HASelect denies that such uses were
                                                       1         108:12-109:1.                                Debtor’s sole uses of loan funds received
                                                                                                              from HASelect. Among other things,
                                                       2                                                      Debtor also used such funds to repay
                                                                                                              debts owed to third parties, to make loans
                                                       3                                                      and pay bonuses to Debtor’s principals, to
                                                                                                              purchase accounts receivable Debtor later
                                                       4                                                      sold and assigned to Tecumseh, and to
                                                                                                              fund Debtor’s operating expenses relating
                                                       5                                                      services provided to Tecumseh following
                                                                                                              the execution of the Sub-Advisory
                                                       6                                                      Agreement between Debtor and
                                                                                                              Tecumseh.
                                                       7
                                                                                                              See HASelect’s Exhibits 3, 11, and 37.
                                                       8
                                                           4.    Among other things, those Receivables        HASelect admits it holds a perfected first-
                                                       9         legally and beneficially owned by the        priority security interest in all of Debtor’s
                                                                 Debtor secured the HASelect loan.            personal property, including without
                                                      10                                                      limitation, all owned and after-acquired
                                                                 See Exhibit A, Hemmer Dep. Vol. 108:12-      goods, inventory, equipment, fixtures,
                                                      11         109:1; Hemmer Dep. Vol. II at 168:17-        accounts, general intangibles, instruments,
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                                                                 169:5.                                       chattel paper, documents, commercial tort
                                                      12                                                      claims, investment property, letter of
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                                                                                                              credit rights, deposit accounts, and all
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                                                                                                              money, and all other property (including
                                                                                                              claims and credit balances), and all
                                                      14                                                      proceeds (including proceeds of any
                                                                                                              insurance policies, proceeds of proceeds
                                                      15                                                      and claims against third parties), and all
                                                                                                              products and all books and records related
                                                      16                                                      to any of the foregoing as collateral for all
                                                                                                              indebtedness owed to HASelect by
                                                      17                                                      Debtor.
                                                      18                                                      HASelect denies that its collateral was
                                                                                                              limited to those Receivables legally and
                                                      19                                                      beneficially owned by the Debtor.
                                                      20                                                      See HASelect Exhibits 1 and 2.
                                                      21   5.    HASelect asserts that is owed                HASelect admits that Debtor owed
                                                                 $16,000,543.00 as of September 14, 2021.     indebtedness of at least $16,000,543 to
                                                      22                                                      HASelect as of September 14, 2021.
                                                                 See Main Case, Proof of Claim No. 8-2.
                                                      23
                                                           6.    On October 15, 2021, the Trustee             HASelect admits that the Trustee
                                                      24         abandoned to HASelect collateral valued by   represented to it and to the Bankruptcy
                                                                 the Debtor at approximately 10 million       Court that Debtor had represented to the
                                                      25         dollars.                                     Trustee that the value of the collateral
                                                                                                              referenced in the Joint Motion of Chapter
                                                      26         See Main Case, ECF Nos. 12, 64, and 97.      7 Trustee and Secured Creditor HASelect-
                                                                                                              Medical Receivables Litigation Finance
                                                      27                                                      Fund International SP to Approve
                                                                                                              Abandonment of Collateral [ECF No. 12]
                                                      28


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                                                                                                                           (the “Joint Motion”) was approximately
                                                       1                                                                   $10 million.
                                                       2                                                                   HASelect denies that the actual value of
                                                                                                                           the collateral surrendered to HASelect
                                                       3                                                                   pursuant to the Bankruptcy Court’s order
                                                                                                                           granting the Joint Motion is $10 million as
                                                       4                                                                   the value of such collateral remains
                                                                                                                           uncertain.
                                                       5
                                                                                                                           See Main Case, ECF Nos. 47 and 112.
                                                       6
                                                               7.      This Court has ruled that HASelect may              HASelect admits that, in granting
                                                       7               also recover receivables totaling                   HASelect’s Motion for Partial Summary
                                                                       $3,734,397.25, and concluded that                   Judgment as to Certain Disputed
                                                       8               HASelect’s position as a “lien creditor”            Receivables [ECF No. 53], the
                                                                       under 11 U.S.C. § 544(a) was superior to            Bankruptcy Court has ruled that HASelect
                                                       9               any interest held by Tecumseh in those              is entitled recover certain Tecumseh
                                                                       particular Receivables, and therefore, that         Receivables with a total face value of
                                                      10               any interest held by Tecumseh in such               $3,734,397.25 and concluded that
                                                                       receivables was avoided pursuant to 11              HASelect’s position as a “lien creditor”
                                                      11               U.S.C. § 544(a).                                    under 11 U.S.C. § 544(a) was superior to
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                                                                                                                           any interest held by Tecumseh in those
                                                      12               See Adv. Case, ECF No. 88.                          particular Tecumseh Receivables, and
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                                                                                                                           therefore, that any interest held by
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                                                                                                                           Tecumseh in such receivables was
                                                                                                                           avoided pursuant to 11 U.S.C. § 544(a).
                                                      14
                                                               8.      The relationship between Tecumseh and the           HASelect admits that certain aspects of
                                                      15               Debtor was governed by a June 2020 Sub-             the relationship between Tecumseh and
                                                                       Advisory Agreement (the “Sub-Advisory               Debtor were governed by the Sub-
                                                      16               Agreement”).                                        Advisory Agreement.
                                                      17               See Declaration of Michael Belotz (the              HASelect denies that the relationship
                                                                       “Belotz Declaration”) ¶ 5, submitted                between Tecumseh and Debtor was
                                                      18               herewith; see also Sub-Advisory Agreement           governed solely by the Sub-Advisory
                                                                       attached hereto as Exhibit B.                       Agreement as Tecumseh and Debtor also
                                                      19                                                                   entered into a series of Assignments and
                                                                                                                           Bills of Sale with respect to the sale of
                                                      20                                                                   certain accounts receivable by Debtor to
                                                                                                                           Tecumseh. Moreover, the Tecumseh
                                                      21                                                                   Receivables were purchased or funded1 by
                                                                                                                           Debtor from approximately 100 different
                                                      22                                                                   medical providers pursuant to separate
                                                                                                                           written contracts between Debtor and such
                                                      23                                                                   medical providers that govern Debtor’s
                                                                                                                           rights in the Tecumseh Receivables.
                                                      24                                                                   Debtor’s rights under such contracts are
                                                                                                                           included in HASelect’s Collateral.
                                                      25                                                                   Tecumseh is not a party to and holds no
                                                                                                                           rights under any such contract.
                                                      26

                                                      27
                                                           1
                                                      28       See Response to Statement of Fact No. 1 above.


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                                                                                                                           See HASelect’s Exhibits 26, 27, 28, 31,
                                                       1                                                                   and 33.
                                                       2       9.      The Sub-Advisory Agreement generally                HASelect admits that, in entering into the
                                                                       provided that the Debtor would (i) assist           Sub-Advisory Agreement, Tecumseh
                                                       3               Tecumseh with purchasing the Tecumseh               engaged Debtor as an independent
                                                                       Receivables “directly from the Medical              contractor in contemplation of Debtor
                                                       4               Service Provider” and (ii) service and              performing the services described in
                                                                       collect the Tecumseh Receivables.                   Exhibit A to the Sub-Advisory
                                                       5                                                                   Agreement.
                                                                       See Exhibit B, Sub-Advisory Agreement, ¶
                                                       6               3(b), (e); Belotz Decl. at ¶ 7.                     HASelect denies this Statement of Fact to
                                                                                                                           the extent it is inconsistent with the actual
                                                       7                                                                   language of the Sub-Advisory Agreement.
                                                       8                                                                   HASelect further denies that Debtor
                                                                                                                           actually assisted Tecumseh in purchasing
                                                       9                                                                   any Tecumseh Receivable directly from
                                                                                                                           any medical service provider. All
                                                      10                                                                   Tecumseh Receivables were purchased or
                                                                                                                           funded2 by Debtor pursuant to written
                                                      11                                                                   contracts between Debtor and medical
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                                                                                                                           service providers, which in most cases
                                                      12                                                                   existed prior to the execution of the Sub-
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                                                                                                                           Advisory Agreement and in all cases
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                                                                                                                           govern Debtor’s rights in the Tecumseh
                                                                                                                           Receivables. Debtor’s rights under such
                                                      14                                                                   contracts are included in HASelect’s
                                                                                                                           Collateral. Tecumseh is not a party to and
                                                      15                                                                   holds no rights under any such contract.
                                                      16                                                                   See HASelect’s Exhibits 26, 27, 28, 31,
                                                                                                                           and 33.
                                                      17
                                                               10.     The Sub-Advisory Agreement called for the           HASelect admits that, in entering into the
                                                      18               Debtor to identify receivables for Tecumseh         Sub-Advisory Agreement, Tecumseh
                                                                       to purchase and to negotiate a purchase             engaged Debtor as an independent
                                                      19               price on Tecumseh’s behalf.                         contractor in contemplation of Debtor
                                                                                                                           performing the services described in
                                                      20               See Exhibit B, Sub-Advisory Agreement at            Exhibit A to the Sub-Advisory
                                                                       ¶¶ 1(b), 3(a), 3(b).                                Agreement.
                                                      21
                                                                                                                           HASelect otherwise denies this Statement
                                                      22                                                                   of Fact. The Sub-Advisory Agreement
                                                                                                                           does not state that Debtor would negotiate
                                                      23                                                                   the purchase price of any account
                                                                                                                           receivable or take any other action “on
                                                      24                                                                   Tecumseh’s behalf”.
                                                      25                                                                   HASelect further denies that Debtor
                                                                                                                           actually assisted Tecumseh in purchasing
                                                      26                                                                   any account receivable directly from any
                                                                                                                           medical service provider. All Tecumseh
                                                      27
                                                           2
                                                      28       See Response to Statement of Fact No. 1.


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                                                                                                                           Receivables were purchased or funded3 by
                                                       1                                                                   Debtor pursuant to written contracts
                                                                                                                           between Debtor and medical service
                                                       2                                                                   providers, which in most cases existed
                                                                                                                           prior to the execution of the Sub-Advisory
                                                       3                                                                   Agreement and in all cases govern
                                                                                                                           Debtor’s rights in the Tecumseh
                                                       4                                                                   Receivables. Debtor’s rights under such
                                                                                                                           contracts are included in HASelect’s
                                                       5                                                                   Collateral. Tecumseh is not a party to and
                                                                                                                           holds no rights under any such contract.
                                                       6
                                                                                                                           See HASelect’s Exhibits 26, 27, 28, 31,
                                                       7                                                                   and 33.
                                                       8       11.     The Debtor was also to arrange all of the           HASelect admits that, in entering into the
                                                                       paperwork necessary to “evidence the sale           Sub-Advisory Agreement, Tecumseh
                                                       9               of the Receivable to [Tecumseh] by the              engaged Debtor as an independent
                                                                       Medical Service Provider.”                          contractor in contemplation of Debtor
                                                      10                                                                   performing the services described in
                                                                       See Exhibit B, Sub-Advisory Agreement at            Exhibit A to the Sub-Advisory
                                                      11               ¶ 3(d).                                             Agreement.
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                                                      12                                                                   HASelect otherwise denies this Statement
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                                                                                                                           of Fact. Except with respect to those
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                                                                                                                           Tecumseh Receivables for which Debtor
                                                                                                                           and Tecumseh entered into an Assignment
                                                      14                                                                   and Bill of Sale, HASelect denies that
                                                                                                                           Debtor arranged or otherwise secured any
                                                      15                                                                   paperwork or other document evidencing
                                                                                                                           the sale of any account receivable to
                                                      16                                                                   Tecumseh. In fact, no document exists
                                                                                                                           that evidences any direct sale or
                                                      17                                                                   assignment of any account receivable to
                                                                                                                           Tecumseh by any medical provider. All
                                                      18                                                                   Tecumseh Receivables were purchased or
                                                                                                                           funded4 by Debtor pursuant to written
                                                      19                                                                   contracts between Debtor and medical
                                                                                                                           service providers, which in most cases
                                                      20                                                                   existed prior to the execution of the Sub-
                                                                                                                           Advisory Agreement and in all cases
                                                      21                                                                   govern Debtor’s rights in the Tecumseh
                                                                                                                           Receivables. Debtor’s rights under such
                                                      22                                                                   contracts are included in HASelect’s
                                                                                                                           Collateral. Tecumseh is not a party to and
                                                      23                                                                   holds no rights under any such contract.
                                                      24                                                                   See HASelect’s Exhibits 26, 27, 28, 31,
                                                                                                                           and 33.
                                                      25

                                                      26

                                                      27   3
                                                               See Response to Statement of Fact No. 1.
                                                           4
                                                      28       See Response to Statement of Fact No. 1.


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                                                               12.     FTM Investments, Inc. (“FTM”) would                 HASelect denies this Statement of Fact.
                                                       1               verify the receivable on behalf of                  A significant number of the Tecumseh
                                                                       Tecumseh, after which Tecumseh would                Receivables were purchased or funded5 by
                                                       2               approve of the purchase.                            Debtor prior to any opportunity for review
                                                                                                                           or approval by FTM or Tecumseh.
                                                       3               See Belotz Decl., ¶ 10.                             HASelect is informed and believes that
                                                                                                                           FTM (or a related entity) holds a
                                                       4                                                                   pecuniary interest in Tecumseh’s dealings
                                                                                                                           with Debtor under the Sub-Advisory
                                                       5                                                                   Agreement. However, additional
                                                                                                                           discovery is needed to ascertain the full
                                                       6                                                                   nature of such interest as well as the
                                                                                                                           nature of any services FTM (or a related
                                                       7                                                                   entity) provided in connection with
                                                                                                                           Debtor’s purchases of the Tecumseh
                                                       8                                                                   Receivables.
                                                       9                                                                   See HASelect’s Exhibit 19; see Larsen
                                                                                                                           Declaration, ¶ 11.
                                                      10
                                                               13.     Tecumseh then paid the price agreed to by           HASelect denies this Statement of Fact.
                                                      11               the medical provider along with the fee to          All Tecumseh Receivables were
              1731 Village Center Circle, Suite 150




                                                                       the Debtor required by the Sub-Advisory             purchased or funded6 by Debtor pursuant
                                                      12               Agreement.                                          to written contracts between Debtor and
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                                           medical service providers, which in most
                                                      13
                        (702) 471-7432




                                                                       See Belotz Decl., ¶ 10.                             cases existed prior to the execution of the
                                                                                                                           Sub-Advisory Agreement and in all cases
                                                      14                                                                   govern Debtor’s rights in the Tecumseh
                                                                                                                           Receivables. Debtor’s rights under such
                                                      15                                                                   contracts are included in HASelect’s
                                                                                                                           Collateral. Tecumseh is not a party to and
                                                      16                                                                   holds no rights under any such contract.
                                                                                                                           No document exists that evidences any
                                                      17                                                                   direct sale or assignment of any account
                                                                                                                           receivable to Tecumseh by any medical
                                                      18                                                                   provider. Tecumseh admits it has never
                                                                                                                           communicated with any medical provider
                                                      19                                                                   regarding any Tecumseh Receivable. All
                                                                                                                           payments to medical providers were made
                                                      20                                                                   by Debtor.
                                                      21                                                                   See Response to Statement of Fact No. 21
                                                                                                                           below.
                                                      22
                                                                                                                           See HASelect’s Exhibits 26, 27, 28, 31,
                                                      23                                                                   and 33.
                                                      24       14.     The process of purchasing a receivable              HASelect admits that the purchase of
                                                                       began with a personal injury plaintiff being        some accounts receivable by Debtor has
                                                      25               referred to the Debtor.                             historically been initiated by a referral of a
                                                      26

                                                      27   5
                                                               See Response to Statement of Fact No. 1 above.
                                                           6
                                                      28       See Response to Statement of Fact No. 1.


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                                                                       See Referral, attached hereto as Exhibit C.         personal injury plaintiff to Debtor by
                                                       1                                                                   various third parties.
                                                       2                                                                   HASelect otherwise denies this Statement
                                                                                                                           of Fact. Most accounts receivable
                                                       3                                                                   purchased or funded7 by Debtor, including
                                                                                                                           most of the Direct Purchase Receivables
                                                       4                                                                   (both by number and face value), were
                                                                                                                           purchased or funded through contracts
                                                       5                                                                   between Debtor and medical providers.
                                                                                                                           Debtor’s rights under such contracts are
                                                       6                                                                   included in HASelect’s Collateral.
                                                                                                                           Tecumseh is not a party to any such
                                                       7                                                                   contract and holds no rights under any
                                                                                                                           such contract. In many instances,
                                                       8                                                                   including transactions between Debtor
                                                                                                                           and Stat, Preva, Viking, and certain other
                                                       9                                                                   medical providers, Debtor periodically
                                                                                                                           advanced funding to medical providers
                                                      10                                                                   relating to pre-existing accounts
                                                                                                                           receivable without any referral or direct
                                                      11                                                                   contact with any personal injury plaintiff
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                                                                                                                           or other referral.
                                                      12
                   Las Vegas, Nevada 89134
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                                                                                                                           In other instances, Debtor directly
                                                      13
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                                                                                                                           marketed its willingness to purchase
                                                                                                                           accounts receivable and funding abilities
                                                      14                                                                   to personal injury attorneys and medical
                                                                                                                           providers with whom it had no prior
                                                      15                                                                   business relationship through direct
                                                                                                                           mailings, cold calls, emails, and other
                                                      16                                                                   means. In many cases, it remains unclear
                                                                                                                           how Debtor came into contact with certain
                                                      17                                                                   personal injury plaintiffs and medical
                                                                                                                           providers. Additional discovery is needed
                                                      18                                                                   to ascertain the means by which such
                                                                                                                           contacts were initiated and the sources of
                                                      19                                                                   any alleged referrals.
                                                      20                                                                   See HASelect’s Exhibits 26, 27, 28, 31,
                                                                                                                           and 33.
                                                      21
                                                               15.     Each plaintiff was then assigned a unique           HASelect admits that Debtor typically
                                                      22               ClaimID number by the Debtor.                       assigned a unique ClaimID number to
                                                                                                                           each individual that received medical
                                                      23               See Exhibit A, Hemmer Dep. Vol. I at                treatment relating to an account receivable
                                                                       45:15-46:23.                                        purchased or funded8 by Debtor.
                                                      24
                                                               16.     Acting on behalf of Tecumseh, Debtor                HASelect denies this Statement of Fact.
                                                      25               would provide a preauthorization letter to          While, in some instances, Debtor provided
                                                                       the medical provider prior to the                   a preauthorization letter to a medical
                                                      26

                                                      27   7
                                                               See Response to Statement of Fact No. 1 above.
                                                           8
                                                      28       See Response to Statement of Fact No. 1 above.


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                                                                       performance of any authorized service by             provider prior to treatment, such practice
                                                       1               the provider to the Plaintiff.                       was not universal and was not done on
                                                                                                                            behalf of Tecumseh. No preauthorization
                                                       2               See Preauthorization Letter, attached hereto         letter provided by Debtor to any medical
                                                                       as Exhibit D.                                        provider makes any reference to
                                                       3                                                                    Tecumseh. Debtor’s practices varied
                                                                                                                            widely based on the terms of Debtor’s
                                                       4                                                                    written contracts with medical providers
                                                                                                                            and the nature of the medical services in
                                                       5                                                                    question. Most accounts receivable
                                                                                                                            purchased or funded9 by Debtor, including
                                                       6                                                                    most of the Direct Purchase Receivables
                                                                                                                            (both by number and face value), were
                                                       7                                                                    purchased or funded through contracts
                                                                                                                            between Debtor and medical providers.
                                                       8                                                                    Debtor’s rights under such contracts are
                                                                                                                            included in HASelect’s Collateral.
                                                       9                                                                    Tecumseh is not a party to any such
                                                                                                                            contract and holds no rights under any
                                                      10                                                                    such contract. In many instances,
                                                                                                                            including transactions between Debtor
                                                      11                                                                    and Stat, Preva, Viking, and certain other
              1731 Village Center Circle, Suite 150




                                                                                                                            medical providers, Debtor periodically
                                                      12                                                                    advanced funding to medical providers
                   Las Vegas, Nevada 89134
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                                                                                                                            relating to pre-existing accounts
                                                      13
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                                                                                                                            receivable without any referral or direct
                                                                                                                            contact with any personal injury plaintiff
                                                      14                                                                    or other referral.
                                                      15                                                                    See HASelect’s Exhibits 26, 27, 28, 31,
                                                                                                                            and 33.
                                                      16
                                                               17.     Subsequent to the provision of an                    HASelect denies this Statement of Fact.
                                                      17               authorized procedure, Tecumseh would                 While, in some instances, Debtor provided
                                                                       provide payment in a previously agreed               a preauthorization letter to a medical
                                                      18               upon amount.                                         provider prior to treatment, such practice
                                                                                                                            was not universal and was not done on
                                                      19               See Belotz Decl., ¶ 9-10.                            behalf of Tecumseh. No preauthorization
                                                                                                                            letter provided by Debtor to any medical
                                                      20                                                                    provider makes any reference to
                                                                                                                            Tecumseh. Debtor’s practices varied
                                                      21                                                                    widely based on the terms of Debtor’s
                                                                                                                            written contracts with medical providers
                                                      22                                                                    and the nature of the medical services in
                                                                                                                            question. Most accounts receivable
                                                      23                                                                    purchased or funded10 by Debtor,
                                                                                                                            including most of the Direct Purchase
                                                      24                                                                    Receivables (both by number and face
                                                                                                                            value), were purchased or funded through
                                                      25                                                                    contracts between Debtor and medical
                                                                                                                            providers. Debtor’s rights under such
                                                      26                                                                    contracts are included in HASelect’s
                                                      27   9
                                                               See Response to Statement of Fact No. 1 above.
                                                           10
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                                                                            Collateral. Tecumseh is not a party to any
                                                       1                                                                    such contract and holds no rights under
                                                                                                                            any such contract. In many instances,
                                                       2                                                                    including transactions between Debtor
                                                                                                                            and Stat, Preva, Viking, and certain other
                                                       3                                                                    medical providers, Debtor periodically
                                                                                                                            advanced funding to medical providers
                                                       4                                                                    relating to pre-existing accounts
                                                                                                                            receivable without any referral or direct
                                                       5                                                                    contact with any personal injury plaintiff
                                                                                                                            or other referral. In all instances, it was
                                                       6                                                                    Debtor that made payment to the medical
                                                                                                                            provider, not Tecumseh.
                                                       7
                                                                                                                            See HASelect’s Exhibits 11, 22, 23, 24,
                                                       8                                                                    26, 27, 28, 31, and 33.
                                                       9    18.        The Debtor retained in its records an HCFA           HASelect denies this Statement of Fact.
                                                                       1500 medical billing claim form (the                 While, in many instances, Debtor retained
                                                      10               “Claim Form”) reflecting, among other                in its records a Claim Form reflecting the
                                                                       things, the face amount of each Receivable,          face amount of the relevant account
                                                      11               and transmitting the Claim Form to the               receivable, such practice was not
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                                                                       Plaintiff’s counsel of record.                       universal. The extent to which Claim
                                                      12                                                                    Forms were created and maintained by
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                                                                       See Claim Form, attached hereto as Exhibit           Debtor or sent to personal injury
                                                      13
                        (702) 471-7432




                                                                       E.                                                   plaintiffs’ attorneys is unknown and
                                                                                                                            requires additional discovery.
                                                      14
                                                                                                                            See Larsen Declaration, ¶¶ 7 - 10.
                                                      15
                                                            19.        Each Claim Form represented a distinct               HASelect denies this Statement of Fact.
                                                      16               Receivable, affiliated with a unique BillID          The purpose and extent of Debtor’s use of
                                                                       number.                                              Claim Forms is largely unknown and
                                                      17                                                                    requires additional discovery.
                                                                       See Exhibit A, Hemmer Dep. Vol. I at
                                                      18               45:15-46:23.                                         See Larsen Declaration, ¶¶ 7 - 10.
                                                      19    20.        Each receivable would receive its own                HASelect admits that the accounts
                                                                       unique BillID number, and the Debtor                 receivable purchased or funded11 by
                                                      20               would maintain in its records a                      Debtor were generally each assigned a
                                                                       corresponding Claim Form, together with              unique BillID number.
                                                      21               evidence of Tecumseh’s contemporaneous
                                                                       payment.                                             HASelect otherwise denies this Statement
                                                      22                                                                    of Fact. There was no contemporaneous
                                                                       See Exhibit A, Hemmer Dep. Vol. I at                 payment by Tecumseh for which Debtor
                                                      23               45:15-46; Exhibit E, Claim Form.                     could have retained records. Further, the
                                                                                                                            purpose and extent of Debtor’s use of
                                                      24                                                                    Claim Forms as well as the full scope of
                                                                                                                            records retained by Debtor with respect to
                                                      25                                                                    the Tecumseh Receivables is unknown
                                                                                                                            and requires additional discovery.
                                                      26

                                                      27
                                                           11
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                                                            See Larsen Declaration, ¶¶ 7 - 10.
                                                       1
                                                            21.   To facilitate the purchase of Tecumseh    HASelect admits that funds from
                                                       2          Receivables and collection of proceeds,   Tecumseh’s investors were periodically
                                                                  Tecumseh opened an account with Bank of   deposited to the BofA Account.
                                                       3          America (the “BofA Account”). Tecumseh
                                                                  funded the BofA Account with money from   HASelect otherwise denies this Statement
                                                       4          its investors.                            of Fact. Tecumseh’s investors were not
                                                                                                            the sole source of funds deposited to the
                                                       5          Belotz Decl., ¶ 11                        BofA Account. From June 2020 through
                                                                                                            the Petition Date, Debtor collected
                                                       6                                                    approximately $500,000 in proceeds from
                                                                                                            the Tecumseh Receivables. Debtor
                                                       7                                                    generally deposited or transferred such
                                                                                                            collections to the BofA Account and later
                                                       8                                                    used the same to purchase or fund
                                                                                                            additional Tecumseh Receivables
                                                       9                                                    included in the Direct Purchase
                                                                                                            Receivables. Many of the Tecumseh
                                                      10                                                    Receivable on which those collections
                                                                                                            were realized have already been
                                                      11                                                    determined by the Bankruptcy Court to be
              1731 Village Center Circle, Suite 150




                                                                                                            subject to HASelect’s superior perfected
                                                      12                                                    security interest through the Order
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SHEA LARSEN




                                                                                                            Granting in Part and Denying in Part
                                                      13
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                                                                                                            Plaintiff’s Motion for Partial Summary
                                                                                                            Judgment as to Certain Disputed
                                                      14                                                    Receivables [ECF No. 88]. As such, the
                                                                                                            proceeds of those Tecumseh Receivables
                                                      15                                                    undoubtedly constitute proceeds of
                                                                                                            HASelect’s collateral and remain subject
                                                      16                                                    to HASelect’s superior perfected security
                                                                                                            interest. Additional Tecumseh
                                                      17                                                    Receivables collected by Debtor were also
                                                                                                            subject to HASelect’s superior perfected
                                                      18                                                    security interest. As such. the proceeds of
                                                                                                            those additional Tecumseh Receivables
                                                      19                                                    that were deposited to the BofA Account
                                                                                                            also remain subject to HASelect’s
                                                      20                                                    superior perfected security interest.
                                                      21                                                    The BofA account was opened under the
                                                                                                            fictitious firm name “Infinity Health
                                                      22                                                    Connections”, which is a fictitious firm
                                                                                                            name registered to and used by Debtor
                                                      23                                                    since at least 2016. Parties responsible for
                                                                                                            payment of the Tecumseh Receivables
                                                      24                                                    were generally instructed to send payment
                                                                                                            to Debtor’s fictitious firm name “Infinity
                                                      25                                                    Health Connections”. No such party was
                                                                                                            instructed to send payment to Tecumseh.
                                                      26                                                    Debtor’s principals, Oliver Hemmers and
                                                                                                            Anne Pantelas, were signatories on the
                                                      27                                                    BofA Account and made all payments
                                                                                                            from the BofA account. Additionally,
                                                      28


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                                                                                                                            Debtor often treated the funds in the BofA
                                                       1                                                                    Account as its own. In at least one
                                                                                                                            instance, Debtor borrowed funds from the
                                                       2                                                                    BofA account to pay its own operating
                                                                                                                            expenses without informing Tecumseh.
                                                       3                                                                    On March 10, 2021, Debtor transferred
                                                                                                                            $25,000 from the BofA account to its own
                                                       4                                                                    operating account at Nevada State Bank,
                                                                                                                            which at the time was overdrawn by
                                                       5                                                                    $720.81. Debtor was obligated to fund its
                                                                                                                            payroll the following day. On March 11,
                                                       6                                                                    2021, after satisfying its payroll
                                                                                                                            obligations and obtaining a loan from a
                                                       7                                                                    third party, Debtor returned the $25,000 to
                                                                                                                            the BofA account.
                                                       8
                                                                                                                            The amounts and methods, if any, by
                                                       9                                                                    which proceeds from earlier Tecumseh
                                                                                                                            Receivables were identified allocated to
                                                      10                                                                    the purchase of subsequent Tecumseh
                                                                                                                            Receivables is largely unknown. The
                                                      11                                                                    purposes for and circumstances under
              1731 Village Center Circle, Suite 150




                                                                                                                            which Tecumseh and Debtor opened and
                                                      12                                                                    used the BofA account are also unknown.
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                                                                                                                            As such, additional discovery is required.
                                                      13
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                                                                                                                            See HASelect’s Exhibits 11, 22, 23, 24,
                                                      14                                                                    25, 26, 27, 28, 31, 33, 35, and 36.
                                                      15                                                                    See Larsen Declaration, ¶¶ 7 - 11.
                                                      16    22.        The receivables purchased by Tecumseh                HASelect admits that payments for the
                                                                       from and after October 29, 2020—4,190                Tecumseh Receivables purchased and
                                                      17               receivables at a face amount of                      funded12 by Debtor after October 29, 2020
                                                                       approximately $19,846,621.37 (the “Direct            were generally paid by Debtor from the
                                                      18               Purchase Receivables”)—were paid for with            BofA Account directly to medical
                                                                       transfers of purchase money directly from            providers.
                                                      19               Tecumseh’s BofA Account to the respective
                                                                       medical providers.                                   HASelect otherwise denies this Statement
                                                      20                                                                    of Fact. The BofA Account held proceeds
                                                                       See Belotz Decl., ¶ 12; see also a detailed          of HASelect’s collateral. All payments
                                                      21               Reconciliation prepared by Tecumseh                  from the BofA Account were made by
                                                                       attached hereto as Exhibit F, and                    Debtor, not Tecumseh.
                                                      22               Tecumseh’s collaborating BofA Bank
                                                                       Statements from October of 2020 through              See Response to Statement of Fact No. 21
                                                      23               and including September of                           above.
                                                      24               2021, attached hereto as Composite                   See HASelect’s Exhibits 11, 22, 23, 24,
                                                                       Exhibit G.                                           25, 26, 27, 34, 35, and 36.
                                                      25

                                                      26

                                                      27
                                                           12
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                            23.   Tecumseh paid for the Direct Purchase        HASelect admits that payments for the
                                                       1          Receivables directly from its BofA Account   purchase and funding of the Tecumseh
                                                                  to the medical providers.                    Receivables by Debtor after October 29,
                                                       2                                                       2020 were sent by Debtor from the BofA
                                                                  See Belotz Decl., ¶ 13; see also Exhibit F   Account directly to medical providers.
                                                       3          (Reconciliation) and Composite Exhibit G.
                                                                                                               HASelect otherwise denies this Statement
                                                       4                                                       of Fact. The BofA Account held proceeds
                                                                                                               of HASelect’s collateral. All payments
                                                       5                                                       from the BofA Account were made by
                                                                                                               Debtor, not Tecumseh.
                                                       6
                                                                                                               See Response to Statement of Fact No. 21
                                                       7                                                       above.
                                                       8                                                       See HASelect’s Exhibits 11, 22, 23, 24,
                                                                                                               25, 26, 27, 34, 35, and 36.
                                                       9
                                                            24.   Tecumseh paid the Debtor its servicing fee   HASelect admits that Debtor received
                                                      10          for its work in locating and servicing the   payment of certain fees from the BofA
                                                                  Tecumseh Receivables monthly from the        Account.
                                                      11          BofA Account.
              1731 Village Center Circle, Suite 150




                                                                                                               HASelect otherwise denies this Statement
                                                      12          See Belotz Decl., ¶ 13; see also Exhibit F   of Fact. Payment of fees to Debtor from
                   Las Vegas, Nevada 89134
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                                                                  (Reconciliation) and Composite Exhibit G.    the BofA account was initiated by Debtor,
                                                      13
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                                                                                                               not Tecumseh. Additionally, certain fees
                                                                                                               paid to Debtor pursuant to the Sub-
                                                      14                                                       Advisory Agreement were paid from
                                                                                                               sources other than the BofA Account.
                                                      15
                                                                                                               The extent to which and reasons why
                                                      16                                                       Debtor received payment of fees owed
                                                                                                               under to the Sub-Advisory Agreement
                                                      17                                                       from sources other than the BofA Account
                                                                                                               is unknown and requires additional
                                                      18                                                       discovery.
                                                      19                                                       See HASelect’s Exhibits 11, 22, 23, and
                                                                                                               37; see Larsen Declaration, ¶¶ 7-10.
                                                      20
                                                            25.   As required by the Sub-Advisory              HASelect admits Debtor maintained
                                                      21          Agreement, the Debtor maintained a log of    records relating to the Tecumseh
                                                                  the Tecumseh Receivables along with any      Receivables that generally included
                                                      22          collections on them.                         information regarding collections on the
                                                                                                               Tecumseh Receivables.
                                                      23          Belotz Decl., ¶ 14.
                                                                                                               HASelect otherwise denies this Statement
                                                      24                                                       of Fact. The extent and location of
                                                                                                               Debtor’s records relating to the Tecumseh
                                                      25                                                       Receivables is unknown. HASelect is
                                                                                                               informed and believes that Debtor used
                                                      26                                                       one or more file sharing applications to
                                                                                                               transmit records relating to the Tecumseh
                                                      27                                                       Receivables to Tecumseh and FTM.
                                                                                                               HASelect has not received copies or any
                                                      28


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                                                                                                              log of records transmitted through such
                                                       1                                                      file sharing applications. As such,
                                                                                                              additional discovery is required.
                                                       2
                                                                                                              See Larsen Declaration, ¶¶ 7-10.
                                                       3
                                                            26.   Debtor made these records available to      HASelect denies this Statement of Fact.
                                                       4          Tecumseh on a regular basis through an      The extent to which Debtor maintained
                                                                  application known as “Case Manager.”        made records relating to the Tecumseh
                                                       5                                                      Receivables available to Tecumseh and its
                                                                  Belotz Decl. ¶ 14.                          use of the Case Manager software in
                                                       6                                                      connection with the Tecumseh
                                                                                                              Receivables is largely unknown and
                                                       7                                                      requires additional discovery.
                                                       8                                                      See Response to Statement of Fact No. 25
                                                                                                              above.
                                                       9
                                                                                                              See Larsen Declaration, ¶¶ 7-10.
                                                      10
                                                            27.   In addition, Tecumseh maintained its own    HASelect denies this Statement of Fact.
                                                      11          records related to the Tecumseh             The nature and extent of Tecumseh’s
              1731 Village Center Circle, Suite 150




                                                                  Receivables.                                records relating to the Tecumseh
                                                      12                                                      Receivables is largely unknown and
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                                                                  Belotz Decl. ¶ 14; see also Exhibit F       requires additional discovery.
                                                      13
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                                                                  (Reconciliation) and Composite Exhibit G.
                                                                                                              See Larsen Declaration, ¶ 12.
                                                      14
                                                            28.   The Debtor likewise created a Claim Form    HASelect admits that Debtor maintained
                                                      15          for each Direct Purchase Receivable         Claim Forms for many of the Direct
                                                                  purchased by Tecumseh.                      Purchase Receivables.
                                                      16
                                                                  Belotz Decl., ¶ 19; see also Claim Form,    HASelect otherwise denies this Statement
                                                      17          attached hereto as Exhibit E                of Fact. The Direct Purchase Receivables
                                                                                                              were purchased by Debtor, not Tecumseh,
                                                      18                                                      pursuant to written contracts between
                                                                                                              Debtor and medical providers. All rights
                                                      19                                                      held by Debtor under such contracts are
                                                                                                              included in HASelect’s collateral.
                                                      20                                                      Tecumseh was not a party any such
                                                                                                              contract and holds no rights under any
                                                      21                                                      such contract.
                                                      22                                                      The nature and extent of Debtor’s creation
                                                                                                              of records relating to the Direct Purchase
                                                      23                                                      Receivables is largely unknown and
                                                                                                              requires additional discovery.
                                                      24
                                                                                                              See Response to Statement of Fact No. 26
                                                      25                                                      above.
                                                      26                                                      See HASelect’s Exhibits 26, 27, 28, 31,
                                                                                                              and 33; see Larsen Declaration, ¶¶ 7-10.
                                                      27

                                                      28


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                                                            29.        The Debtor also maintained several binders,          HASelect denies this Statement of Fact.
                                                       1               a segregated compilation of documents,               The nature and extent of Debtor’s creation
                                                                       evidencing Tecumseh’s direct payments to             of records relating to the Tecumseh
                                                       2               medical providers and all corresponding              Receivables, including the Direct
                                                                       Claim Forms for nearly all of the Direct             Purchase Receivables, is largely unknown
                                                       3               Purchase Receivables.                                and requires additional discovery.
                                                       4               See Exhibit I binders.                               See Response to Statement of Fact No. 26
                                                                                                                            above.
                                                       5
                                                                                                                            See Larsen Declaration, ¶¶ 7-10.
                                                       6
                                                            30.        Each Claim Form represented a distinct               HASelect admits that accounts receivable
                                                       7               receivable, affiliated with a unique BillID          purchased or funded13 by Debtor were
                                                                       number.                                              generally each assigned a unique BillID
                                                       8                                                                    by Debtor.
                                                                       See Exhibit A, Hemmer Dep. Vol. I at
                                                       9               45:15-46:23; see also Exhibit E, Claim               The nature and extent of creation of
                                                                       Form.                                                records relating to the Tecumseh
                                                      10                                                                    Receivables, including Debtor’s use of
                                                                                                                            Claim Forms, is largely unknown and
                                                      11                                                                    requires additional discovery.
              1731 Village Center Circle, Suite 150




                                                      12                                                                    See Response to Statement of Fact No. 26
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                                            above.
                                                      13
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                                                                                                                            See Larsen Declaration, ¶¶ 7-10.
                                                      14
                                                            31.        In October 2020, Tecumseh purchased 92               HASelect denies this Statement of Fact.
                                                      15               receivables with a face value of                     All Tecumseh Receivables purchased or
                                                                       $828,614.88 for a purchase price of                  funded14 in October 2020 were purchased
                                                      16               $142,862.63 and paid the Debtor a fee of             or funded by Debtor pursuant to written
                                                                       $28,572.52 from its BofA Account.                    contracts entered into between Debtor and
                                                      17                                                                    medical providers. All rights held by
                                                                       See Exhibit F (Reconciliation) and                   Debtor under such contracts are included
                                                      18               Composite Exhibit G (Bank Statements).               in HASelect’s Collateral. Tecumseh was
                                                                                                                            not a party to any such contract and holds
                                                      19                                                                    no rights under any such contract. In most
                                                                                                                            cases, such contracts expressly preclude
                                                      20                                                                    Debtor from assigning its rights under
                                                                                                                            such contracts without the prior written
                                                      21                                                                    authorization of the counter party. No
                                                                                                                            such contract was ever assigned to
                                                      22                                                                    Tecumseh. All liens securing payment of
                                                                                                                            the Tecumseh Receivables were assigned
                                                      23                                                                    to Debtor, not Tecumseh. All payments
                                                                                                                            from the BofA Account were made by
                                                      24                                                                    Debtor, not Tecumseh. All parties
                                                                                                                            responsible for payment of the Tecumesh
                                                      25                                                                    Receivables were instructed to send
                                                                                                                            payment to Debtor’s fictitious firm name
                                                      26

                                                      27   13
                                                                See Response to Statement of Fact No. 1 above.
                                                           14
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                                                                            “Infinity Health Connections”, not to
                                                       1                                                                    Tecumseh.
                                                       2                                                                    See HASelect’s Exhibits 26, 27, 28, 31,
                                                                                                                            and 33.
                                                       3
                                                            32.        In November 2020, Tecumseh purchased                 HASelect denies this Statement of Fact.
                                                       4               266 receivables with a face value of                 All Tecumseh Receivables purchased or
                                                                       $501,921.54 for a purchase price of                  funded15 in November 2020 were
                                                       5               $142,862.63 and paid the Debtor a fee of             purchased or funded by Debtor pursuant
                                                                       $28,572.52 from its BofA Account.                    to written contracts entered into between
                                                       6                                                                    Debtor and medical providers. All rights
                                                                       See Exhibit F (Reconciliation) and                   held by Debtor under such contracts are
                                                       7               Composite Exhibit G (Bank Statements).               included in HASelect’s Collateral.
                                                                                                                            Tecumseh was not a party to any such
                                                       8                                                                    contract and holds no rights under any
                                                                                                                            such contract. In most cases, such
                                                       9                                                                    contracts expressly preclude Debtor from
                                                                                                                            assigning its rights under such contracts
                                                      10                                                                    without the prior written authorization of
                                                                                                                            the counter party. No such contract was
                                                      11                                                                    ever assigned to Tecumseh. All liens
              1731 Village Center Circle, Suite 150




                                                                                                                            securing payment of the Tecumseh
                                                      12                                                                    Receivables were assigned to Debtor, not
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                                            Tecumseh. All payments from the BofA
                                                      13
                        (702) 471-7432




                                                                                                                            Account were made by Debtor, not
                                                                                                                            Tecumseh. All parties responsible for
                                                      14                                                                    payment of the Tecumesh Receivables
                                                                                                                            were instructed to send payment to
                                                      15                                                                    Debtor’s fictitious firm name “Infinity
                                                                                                                            Health Connections”, not to Tecumseh.
                                                      16
                                                                                                                            See HASelect’s Exhibits 26, 27, 28, 31,
                                                      17                                                                    and 33.
                                                      18    33.        In November 2020, Tecumseh purchased                 This Statement of Fact is a duplicate of
                                                                       266 receivables with a face value of                 Statement of Fact No. 32.
                                                      19               $501,921.54 for a purchase price of
                                                                       $142,862.63 and paid the Debtor a fee of
                                                      20               $28,572.52 – all paid from its BofA
                                                                       Account.
                                                      21
                                                                       See Exhibit F (Reconciliation) and
                                                      22               Composite Exhibit G (Bank Statements).
                                                      23    34.        In December 2020, Tecumseh purchased                 HASelect denies this Statement of Fact.
                                                                       441 receivables with a face value of                 All Tecumseh Receivables purchased or
                                                      24               $1,305,197.62 for a purchase price of                funded16 in December 2020 were
                                                                       $283,162.07 and paid the Debtor a fee of             purchased or funded by Debtor pursuant
                                                      25                                                                    to written contracts entered into between
                                                                                                                            Debtor and medical providers. All rights
                                                      26

                                                      27   15
                                                                See Response to Statement of Fact No. 1 above.
                                                           16
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                       $56,692.44 – all paid from its BofA                  held by Debtor under such contracts are
                                                       1               Account.                                             included in HASelect’s Collateral.
                                                                                                                            Tecumseh was not a party to any such
                                                       2               See Exhibit F (Reconciliation) and                   contract and holds no rights under any
                                                                       Composite Exhibit G (Bank Statements).               such contract. In most cases, such
                                                       3                                                                    contracts expressly preclude Debtor from
                                                                                                                            assigning its rights under such contracts
                                                       4                                                                    without the prior written authorization of
                                                                                                                            the counter party. No such contract was
                                                       5                                                                    ever assigned to Tecumseh. All liens
                                                                                                                            securing payment of the Tecumseh
                                                       6                                                                    Receivables were assigned to Debtor, not
                                                                                                                            Tecumseh. All payments from the BofA
                                                       7                                                                    Account were made by Debtor, not
                                                                                                                            Tecumseh. All parties responsible for
                                                       8                                                                    payment of the Tecumesh Receivables
                                                                                                                            were instructed to send payment to
                                                       9                                                                    Debtor’s fictitious firm name “Infinity
                                                                                                                            Health Connections”, not to Tecumseh.
                                                      10
                                                                                                                            See HASelect’s Exhibits 25, 26, 27, 28,
                                                      11                                                                    31, 33, and 36.
              1731 Village Center Circle, Suite 150




                                                      12    35.        In January 2021, Tecumseh purchased 430              HASelect denies this Statement of Fact.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                       receivables with a face value of                     All Tecumseh Receivables purchased or
                                                      13
                        (702) 471-7432




                                                                       $1,500,807.25 for a purchase price of                funded17 in January 2021 were purchased
                                                                       $284,325.87 and paid the Debtor a fee of             or funded by Debtor pursuant to written
                                                      14               $56,865.78 – all paid from its BofA                  contracts entered into between Debtor and
                                                                       Account.                                             medical providers. All rights held by
                                                      15                                                                    Debtor under such contracts are included
                                                                       See Exhibit F (Reconciliation) and                   in HASelect’s Collateral. Tecumseh was
                                                      16               Composite Exhibit G (Bank Statements).               not a party to any such contract and holds
                                                                                                                            no rights under any such contract. In most
                                                      17                                                                    cases, such contracts expressly preclude
                                                                                                                            Debtor from assigning its rights under
                                                      18                                                                    such contracts without the prior written
                                                                                                                            authorization of the counter party. No
                                                      19                                                                    such contract was ever assigned to
                                                                                                                            Tecumseh. All liens securing payment of
                                                      20                                                                    the Tecumseh Receivables were assigned
                                                                                                                            to Debtor, not Tecumseh. All payments
                                                      21                                                                    from the BofA Account were made by
                                                                                                                            Debtor, not Tecumseh. All parties
                                                      22                                                                    responsible for payment of the Tecumesh
                                                                                                                            Receivables were instructed to send
                                                      23                                                                    payment to Debtor’s fictitious firm name
                                                                                                                            “Infinity Health Connections”, not to
                                                      24                                                                    Tecumseh.
                                                      25                                                                    See HASelect’s Exhibits 25, 26, 27, 28,
                                                                                                                            31, 33, and 36.
                                                      26

                                                      27
                                                           17
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                            36.        In February 2021, Tecumseh purchased 323             HASelect denies this Statement of Fact.
                                                       1               receivables with a face value of                     All Tecumseh Receivables purchased or
                                                                       $1,248,675.56 for a purchase price of                funded18 in February 2021 were purchased
                                                       2               $321,377.94 and paid the Debtor a fee of             or funded by Debtor pursuant to written
                                                                       $64,588.45 – all paid from its BofA                  contracts entered into between Debtor and
                                                       3               Account.                                             medical providers. All rights held by
                                                                                                                            Debtor under such contracts are included
                                                       4               See Exhibit F (Reconciliation) and                   in HASelect’s Collateral. Tecumseh was
                                                                       Composite Exhibit G (Bank Statements).               not a party to any such contract and holds
                                                       5                                                                    no rights under any such contract. In most
                                                                                                                            cases, such contracts expressly preclude
                                                       6                                                                    Debtor from assigning its rights under
                                                                                                                            such contracts without the prior written
                                                       7                                                                    authorization of the counter party. No
                                                                                                                            such contract was ever assigned to
                                                       8                                                                    Tecumseh. All liens securing payment of
                                                                                                                            the Tecumseh Receivables were assigned
                                                       9                                                                    to Debtor, not Tecumseh. All payments
                                                                                                                            from the BofA Account were made by
                                                      10                                                                    Debtor, not Tecumseh. All parties
                                                                                                                            responsible for payment of the Tecumesh
                                                      11                                                                    Receivables were instructed to send
              1731 Village Center Circle, Suite 150




                                                                                                                            payment to Debtor’s fictitious firm name
                                                      12                                                                    “Infinity Health Connections”, not to
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                                            Tecumseh.
                                                      13
                        (702) 471-7432




                                                                                                                            See HASelect’s Exhibits 25, 26, 27, 28,
                                                      14                                                                    31, 33, and 36.
                                                      15    37.        In March 2021, Tecumseh purchased 412                HASelect denies this Statement of Fact.
                                                                       receivables with a face value of                     All Tecumseh Receivables purchased or
                                                      16               $2,081,787.17 for a purchase price of                funded19 in March 2021 were purchased
                                                                       $285,862.33 and paid the Debtor a fee of             or funded by Debtor pursuant to written
                                                      17               $46,100.85 – all paid from its BofA                  contracts entered into between Debtor and
                                                                       Account.                                             medical providers. All rights held by
                                                      18                                                                    Debtor under such contracts are included
                                                                       See Exhibit F (Reconciliation) and                   in HASelect’s Collateral. Tecumseh was
                                                      19               Composite Exhibit G (Bank Statements).               not a party to any such contract and holds
                                                                                                                            no rights under any such contract. In most
                                                      20                                                                    cases, such contracts expressly preclude
                                                                                                                            Debtor from assigning its rights under
                                                      21                                                                    such contracts without the prior written
                                                                                                                            authorization of the counter party. No
                                                      22                                                                    such contract was ever assigned to
                                                                                                                            Tecumseh. All liens securing payment of
                                                      23                                                                    the Tecumseh Receivables were assigned
                                                                                                                            to Debtor, not Tecumseh. All payments
                                                      24                                                                    from the BofA Account were made by
                                                                                                                            Debtor, not Tecumseh. All parties
                                                      25                                                                    responsible for payment of the Tecumesh
                                                                                                                            Receivables were instructed to send
                                                      26                                                                    payment to Debtor’s fictitious firm name
                                                      27   18
                                                                See Response to Statement of Fact No. 1 above.
                                                           19
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                                                                            “Infinity Health Connections”, not to
                                                       1                                                                    Tecumseh.
                                                       2                                                                    See HASelect’s Exhibits 25, 26, 27, 28,
                                                                                                                            31, 33, and 36.
                                                       3
                                                            38.        In April 2021, Tecumseh purchased 425                HASelect denies this Statement of Fact.
                                                       4               receivables with a face value of                     All Tecumseh Receivables purchased or
                                                                       $1,278,990.10 for a purchase price of                funded20 in April 2021 were purchased or
                                                       5               $308,721.70 and paid the Debtor a fee of             funded by Debtor pursuant to written
                                                                       $33,371.64 – all paid from its BofA                  contracts entered into between Debtor and
                                                       6               Account.                                             medical providers. All rights held by
                                                                                                                            Debtor under such contracts are included
                                                       7               See Exhibit F (Reconciliation) and                   in HASelect’s Collateral. Tecumseh was
                                                                       Composite Exhibit G (Bank Statements).               not a party to any such contract and holds
                                                       8                                                                    no rights under any such contract. In most
                                                                                                                            cases, such contracts expressly preclude
                                                       9                                                                    Debtor from assigning its rights under
                                                                                                                            such contracts without the prior written
                                                      10                                                                    authorization of the counter party. No
                                                                                                                            such contract was ever assigned to
                                                      11                                                                    Tecumseh. All liens securing payment of
              1731 Village Center Circle, Suite 150




                                                                                                                            the Tecumseh Receivables were assigned
                                                      12                                                                    to Debtor, not Tecumseh. All payments
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                                            from the BofA Account were made by
                                                      13
                        (702) 471-7432




                                                                                                                            Debtor, not Tecumseh. All parties
                                                                                                                            responsible for payment of the Tecumesh
                                                      14                                                                    Receivables were instructed to send
                                                                                                                            payment to Debtor’s fictitious firm name
                                                      15                                                                    “Infinity Health Connections”, not to
                                                                                                                            Tecumseh.
                                                      16
                                                                                                                            See HASelect’s Exhibits 25, 26, 27, 28,
                                                      17                                                                    31, 33, and 36.
                                                      18    39.        In May 2021, Tecumseh purchased 582                  HASelect denies this Statement of Fact.
                                                                       receivables with a face value of                     All Tecumseh Receivables purchased or
                                                      19               $2,647,439.26 for a purchase price of                funded21 in May 2021 were purchased or
                                                                       $349,515.96 and paid the Debtor a fee of             funded by Debtor pursuant to written
                                                      20               $69,903.19 – all paid from its BofA                  contracts entered into between Debtor and
                                                                       Account.                                             medical providers. All rights held by
                                                      21                                                                    Debtor under such contracts are included
                                                                       See Exhibit F (Reconciliation) and                   in HASelect’s Collateral. Tecumseh was
                                                      22               Composite Exhibit G (Bank Statements).               not a party to any such contract and holds
                                                                                                                            no rights under any such contract. In most
                                                      23                                                                    cases, such contracts expressly preclude
                                                                                                                            Debtor from assigning its rights under
                                                      24                                                                    such contracts without the prior written
                                                                                                                            authorization of the counter party. No
                                                      25                                                                    such contract was ever assigned to
                                                                                                                            Tecumseh. All liens securing payment of
                                                      26

                                                      27   20
                                                                See Response to Statement of Fact No. 1 above.
                                                           21
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                                                                            the Tecumseh Receivables were assigned
                                                       1                                                                    to Debtor, not Tecumseh. All payments
                                                                                                                            from the BofA Account were made by
                                                       2                                                                    Debtor, not Tecumseh. All parties
                                                                                                                            responsible for payment of the Tecumesh
                                                       3                                                                    Receivables were instructed to send
                                                                                                                            payment to Debtor’s fictitious firm name
                                                       4                                                                    “Infinity Health Connections”, not to
                                                                                                                            Tecumseh.
                                                       5
                                                                                                                            See HASelect’s Exhibits 25, 26, 27, 28,
                                                       6                                                                    31, 33, and 36.
                                                       7    40.        In June 2021, Tecumseh purchased 533                 HASelect denies this Statement of Fact.
                                                                       receivables with a face value of                     All Tecumseh Receivables purchased or
                                                       8               $4,233,654.73 for a purchase price of                funded22 in June 2021 were purchased or
                                                                       $539,763.82 and paid the Debtor a fee of             funded by Debtor pursuant to written
                                                       9               $98,999.89 – all paid from its BofA                  contracts entered into between Debtor and
                                                                       Account.                                             medical providers. All rights held by
                                                      10                                                                    Debtor under such contracts are included
                                                                       See Exhibit F (Reconciliation) and                   in HASelect’s Collateral. Tecumseh was
                                                      11               Composite Exhibit G (Bank Statements).               not a party to any such contract and holds
              1731 Village Center Circle, Suite 150




                                                                                                                            no rights under any such contract. In most
                                                      12                                                                    cases, such contracts expressly preclude
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                                            Debtor from assigning its rights under
                                                      13
                        (702) 471-7432




                                                                                                                            such contracts without the prior written
                                                                                                                            authorization of the counter party. No
                                                      14                                                                    such contract was ever assigned to
                                                                                                                            Tecumseh. All liens securing payment of
                                                      15                                                                    the Tecumseh Receivables were assigned
                                                                                                                            to Debtor, not Tecumseh. All payments
                                                      16                                                                    from the BofA Account were made by
                                                                                                                            Debtor, not Tecumseh. All parties
                                                      17                                                                    responsible for payment of the Tecumesh
                                                                                                                            Receivables were instructed to send
                                                      18                                                                    payment to Debtor’s fictitious firm name
                                                                                                                            “Infinity Health Connections”, not to
                                                      19                                                                    Tecumseh.
                                                      20                                                                    See HASelect’s Exhibits 25, 26, 27, 28,
                                                                                                                            31, 33, and 36.
                                                      21
                                                            41.        In July 2021, Tecumseh purchased 245                 HASelect denies this Statement of Fact.
                                                      22               receivables with a face value of                     All Tecumseh Receivables purchased or
                                                                       $2,154,768.92 for a purchase price of                funded23 in July 2021 were purchased or
                                                      23               $197,192.40 and paid the Debtor a fee of             funded by Debtor pursuant to written
                                                                       $29,861.69 – all paid from its BofA                  contracts entered into between Debtor and
                                                      24               Account                                              medical providers. All rights held by
                                                                                                                            Debtor under such contracts are included
                                                      25                                                                    in HASelect’s Collateral. Tecumseh was
                                                                                                                            not a party to any such contract and holds
                                                      26

                                                      27   22
                                                                See Response to Statement of Fact No. 1 above.
                                                           23
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                       See Exhibit F (Reconciliation) and                   no rights under any such contract. In most
                                                       1               Composite Exhibit G (Bank Statements).               cases, such contracts expressly preclude
                                                                                                                            Debtor from assigning its rights under
                                                       2                                                                    such contracts without the prior written
                                                                                                                            authorization of the counter party. No
                                                       3                                                                    such contract was ever assigned to
                                                                                                                            Tecumseh. All liens securing payment of
                                                       4                                                                    the Tecumseh Receivables were assigned
                                                                                                                            to Debtor, not Tecumseh. All payments
                                                       5                                                                    from the BofA Account were made by
                                                                                                                            Debtor, not Tecumseh. All parties
                                                       6                                                                    responsible for payment of the Tecumesh
                                                                                                                            Receivables were instructed to send
                                                       7                                                                    payment to Debtor’s fictitious firm name
                                                                                                                            “Infinity Health Connections”, not to
                                                       8                                                                    Tecumseh.
                                                       9                                                                    See HASelect’s Exhibits 25, 26, 27, 28,
                                                                                                                            31, 33, and 36.
                                                      10
                                                            42.        In August 2021, Tecumseh purchased 394               HASelect denies this Statement of Fact.
                                                      11               receivables with a face value of                     All Tecumseh Receivables purchased or
              1731 Village Center Circle, Suite 150




                                                                       $1,751,688.53 for a purchase price of                funded24 in August 2021 were purchased
                                                      12               $199,942.76 and paid the Debtor a fee of             or funded by Debtor pursuant to written
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                       $31,348.54 – all paid from its BofA                  contracts entered into between Debtor and
                                                      13
                        (702) 471-7432




                                                                       Account.                                             medical providers. All rights held by
                                                                                                                            Debtor under such contracts are included
                                                      14               See Exhibit F (Reconciliation) and                   in HASelect’s Collateral. Tecumseh was
                                                                       Composite Exhibit G (Bank Statements).               not a party to any such contract and holds
                                                      15                                                                    no rights under any such contract. In most
                                                                                                                            cases, such contracts expressly preclude
                                                      16                                                                    Debtor from assigning its rights under
                                                                                                                            such contracts without the prior written
                                                      17                                                                    authorization of the counter party. No
                                                                                                                            such contract was ever assigned to
                                                      18                                                                    Tecumseh. All liens securing payment of
                                                                                                                            the Tecumseh Receivables were assigned
                                                      19                                                                    to Debtor, not Tecumseh. All payments
                                                                                                                            from the BofA Account were made by
                                                      20                                                                    Debtor, not Tecumseh. All parties
                                                                                                                            responsible for payment of the Tecumesh
                                                      21                                                                    Receivables were instructed to send
                                                                                                                            payment to Debtor’s fictitious firm name
                                                      22                                                                    “Infinity Health Connections”, not to
                                                                                                                            Tecumseh.
                                                      23
                                                                                                                            See HASelect’s Exhibits 25, 26, 27, 28,
                                                      24                                                                    31, 33, and 36.
                                                      25    43.        In September 2021, Tecumseh purchased 47 HASelect denies this Statement of Fact.
                                                                       receivables with a face value of         All Tecumseh Receivables purchased or
                                                      26               $313,075.81 for a purchase price of
                                                      27
                                                           24
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                       $102,827.82 – all paid from its BofA                 funded25 in September 2021 were
                                                       1               Account.                                             purchased or funded by Debtor pursuant
                                                                                                                            to written contracts entered into between
                                                       2               See Exhibit F (Reconciliation) and                   Debtor and medical providers. All rights
                                                                       Composite Exhibit G (Bank Statements).               held by Debtor under such contracts are
                                                       3                                                                    included in HASelect’s Collateral.
                                                                                                                            Tecumseh was not a party to any such
                                                       4                                                                    contract and holds no rights under any
                                                                                                                            such contract. In most cases, such
                                                       5                                                                    contracts expressly preclude Debtor from
                                                                                                                            assigning its rights under such contracts
                                                       6                                                                    without the prior written authorization of
                                                                                                                            the counter party. No such contract was
                                                       7                                                                    ever assigned to Tecumseh. All liens
                                                                                                                            securing payment of the Tecumseh
                                                       8                                                                    Receivables were assigned to Debtor, not
                                                                                                                            Tecumseh. All payments from the BofA
                                                       9                                                                    Account were made by Debtor, not
                                                                                                                            Tecumseh. All parties responsible for
                                                      10                                                                    payment of the Tecumesh Receivables
                                                                                                                            were instructed to send payment to
                                                      11                                                                    Debtor’s fictitious firm name “Infinity
              1731 Village Center Circle, Suite 150




                                                                                                                            Health Connections”, not to Tecumseh.
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                                            See HASelect’s Exhibits 25, 26, 27, 28,
                                                      13
                        (702) 471-7432




                                                                                                                            31, 33, and 36.
                                                      14    44.        The Debtor’s did not possess a beneficial            HASelect denies this Statement of Fact.
                                                                       interest in the Direct Purchase Receivables.         Much remains unknown regarding the
                                                      15                                                                    nature and details of the transactions
                                                                       See Exhibit A, Hemmer Dep. Vol. II at                through which Debtor purchased and
                                                      16               173:18-174:4, 174:15-175:3; see also                 funded the Direct Purchase Receivables.
                                                                       Exhibit B, Sub-Advisory Agreement at ¶¶              Additional discovery is required.
                                                      17               1(b), 3(a), 3(b); Exhibit F (Reconciliation),
                                                                       Composite Exhibit G (Bank Statements),               See Responses to Statements of Fact Nos.
                                                      18               and Exhibit I.                                       1, 21, and 31-43 above and 51 below.
                                                      19                                                                    See HASelect’s Exhibits 11, 22, 23, 24,
                                                                                                                            26, 27, 28, 31, 33, 34, 35, and 36; see
                                                      20                                                                    Larsen Declaration, ¶ 10.
                                                      21    45.        Debtor’s internal records likewise denote            HASelect denies this Statement of Fact.
                                                                       which receivables belong to Tecumseh and             With exception of the Tecumseh
                                                      22               which receivables belonged to the Debtor             Receivables for which an Assignment and
                                                                       and secured HASelect’s loan.                         Bill of Sale was executed between Debtor
                                                      23                                                                    and Tecumseh, no business record
                                                                       See Exhibit A, Hemmer Dep. Vol. II at                maintained by Debtor evidences the sale
                                                      24               170:24-171:6.                                        or assignment of any account receivable
                                                                                                                            to Tecumseh by Debtor or any medical
                                                      25                                                                    provider.
                                                      26                                                                    The extent and location of Debtor’s
                                                                                                                            records relating to the Tecumseh
                                                      27
                                                           25
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                                                                   Receivables is unknown. HASelect is
                                                       1                                                           informed and believes that Debtor used
                                                                                                                   one or more file sharing applications to
                                                       2                                                           transmit records relating to the Tecumseh
                                                                                                                   Receivables to Tecumseh and FTM.
                                                       3                                                           HASelect has not received copies or any
                                                                                                                   log of records transmitted through such
                                                       4                                                           file sharing applications. As such,
                                                                                                                   additional discovery is required.
                                                       5
                                                                                                                   See Larsen Declaration, ¶¶ 7-11.
                                                       6
                                                            46.   Tecumseh relayed to its fund administrator       HASelect denies this Statement of Fact.
                                                       7          the “Bill ID, cost of the receivable, the        The nature and extent of information
                                                                  overhead charge, the total cost, date paid       Tecumseh provided to its fund
                                                       8          and the type” of receivables “bought since       administrator is unknown and requires
                                                                  the [time the] last report was generated.”       additional discovery.
                                                       9
                                                                  See Email Correspondence attached hereto         See Larsen Declaration, ¶ 12.
                                                      10          as Exhibit H.
                                                      11    47.   Tecumseh likewise made this information          HASelect admits that Tecumseh has made
              1731 Village Center Circle, Suite 150




                                                                  available to its investors on a regular basis,   certain reports relating to the Tecumseh
                                                      12          posting publicly available fund reports          Receivables publicly available at
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                                                                  detailing, among other things, the “date of      www.tecumsehhalts.com/reports.
                                                      13
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                                                                  purchase” together with the “purchase cost”
                                                                  of each Tecumseh Receivable denoted by its       HASelect otherwise denies this Statement
                                                      14          “BillID.”                                        of Fact. The source, basis, and accuracy
                                                                                                                   of the information included in such
                                                      15          Belotz Decl. at ¶ 22; see also Reports           reports is largely unknown and requires
                                                                  (tecumsehalts.com), last visited 8.26.22.        additional discovery.
                                                      16
                                                                                                                   See Larsen Declaration, ¶ 12.
                                                      17
                                                            48.   Tecumseh reported its ownership interest         HASelect denies this Statement of Fact.
                                                      18          and any resulting capital gains and losses to    The nature and extent of Tecumseh’s
                                                                  the Internal Revenue Service.                    reporting to the Internal Revenue Service
                                                      19                                                           is largely unknown and requires additional
                                                                  Belotz Decl. at ¶ 22.                            discovery.
                                                      20
                                                                                                                   See Larsen Declaration, ¶ 12.
                                                      21
                                                            49.   The Debtor’s bankruptcy schedules do not         HASelect admits that Debtor’s bankruptcy
                                                      22          claim an ownership interest in Direct            schedules do not include any reference to
                                                                  Purchase Receivables.                            the Direct Purchase Receivables.
                                                      23
                                                                  See Exhibit A, Hemmer Dep. Vol. II at            HASelect otherwise denies this Statement
                                                      24          173:18-174:4, 174:15-175:3; see also             of Fact. Debtor’s bankruptcy schedules
                                                                  Debtor’s Schedules [Main Case, ECF No.           do not identify the Direct Purchase
                                                      25          47].                                             Receivables as being held in trust by
                                                                                                                   Debtor or otherwise being held by Debtor
                                                      26                                                           for Tecumseh’s benefit.
                                                      27                                                           See Main Case, ECF Nos. 47 and 112.
                                                      28


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                                                            50.        All dollars collected on the Tecumseh                HASelect denies this Statement of Fact.
                                                       1               Receivables were paid directly to Tecumseh           No funds collected on the Tecumseh
                                                                       and not to the Debtor.                               Receivables were paid directly to
                                                       2                                                                    Tecumseh. Rather, all such funds were
                                                                       Belotz Decl. at ¶ 23; see also Hemmer Dep.           paid directly to Debtor with most, if not
                                                       3               Vol. II at 186:18-23.                                all, such funds paid to Debtor under the
                                                                                                                            fictitious firm name “Infinity Health
                                                       4                                                                    Connections”.
                                                       5                                                                    See HASelect’s Exhibits 11, 22, 23, 24,
                                                                                                                            25, 26, 27, 28, 31, 33, 35, and 36.
                                                       6
                                                            51.        Under the Sub-Advisory Agreement, the                HASelect denies this Statement of Fact.
                                                       7               Debtor received a 20% acquisition fee. The           This Statement of Fact misrepresents the
                                                                       Debtor earned 10% of the acquisition fee             language of the Sub-Advisory Agreement.
                                                       8               immediately, and 10% according to a
                                                                       contingency schedule. The contingency                Prior to its amendment in January 2021,
                                                       9               schedule turned on the average investor              the Sub-Advisory Agreement provided
                                                                       annual rate of return; the Debtor earned up          that Debtor was entitled to receive an
                                                      10               to 10% if the annual rate of return exceeded         acquisition fee equal to 20% of the cost of
                                                                       30%.                                                 each account receivable purchased by
                                                      11                                                                    Tecumseh at the time of purchase. Debtor
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                                                                       See Exhibit A, Sub-Advisory Agreement,               also had the right to receive an additional
                                                      12               Addendum A, ¶ (a).                                   fee generally equal to 15% of any profit
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                                                                                                                            made on each account receivable at the
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                                                                                                                            time of collection. With the exception of
                                                                                                                            the Tecumseh Receivables purchased and
                                                      14                                                                    funded26 by Debtor in September 2021 for
                                                                                                                            which Debtor’s acquisition fee remains
                                                      15                                                                    unpaid, the 20% acquisition fee was paid
                                                                                                                            to Debtor. It is unknown if Debtor
                                                      16                                                                    received or is owed payment of any
                                                                                                                            additional 15% fee based on the collection
                                                      17                                                                    of any Tecumseh Receivable. As such,
                                                                                                                            additional discovery is required.
                                                      18
                                                                                                                            The Sub-Advisory Agreement was
                                                      19                                                                    amended on or about January 5, 2021.
                                                                                                                            The fee structure described above
                                                      20                                                                    remained the same for Tecumseh
                                                                                                                            Receivables purchased or funded by
                                                      21                                                                    Debtor using new investor funds. For
                                                                                                                            Tecumseh Receivables purchased or
                                                      22                                                                    funded by Debtor using proceeds
                                                                                                                            collected from earlier Tecumseh
                                                      23                                                                    Receivables (“Rollover Receivables”),
                                                                                                                            Debtor’s acquisition fee payable at the
                                                      24                                                                    time of purchase was reduced to 10% of
                                                                                                                            the purchase price with an additional
                                                      25                                                                    amount of up to 10% of the purchase
                                                                                                                            process payable at a later date based on
                                                      26                                                                    the contingency schedules set forth in
                                                                                                                            Addendum A to the Sub-Advisory
                                                      27
                                                           26
                                                      28        See Response to Statement of Fact No. 1 above.


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                                                                                                               Agreement. Additionally, Debtor retained
                                                       1                                                       its right to receive an additional fee
                                                                                                               generally equal to 15% of any profit made
                                                       2                                                       on each Rollover Receivable at the time of
                                                                                                               collection.
                                                       3
                                                                                                               With the exception of any Rollover
                                                       4                                                       Receivables purchased and funded by
                                                                                                               Debtor in September 2021 for which
                                                       5                                                       Debtor’s acquisition fee remains unpaid,
                                                                                                               the 10% acquisition fee was paid to
                                                       6                                                       Debtor. It is unknown whether Debtor
                                                                                                               received or may be owed payment of any
                                                       7                                                       contingency fee. It is also unknown if
                                                                                                               Debtor received or may be owed payment
                                                       8                                                       of any additional 15% fee based on the
                                                                                                               collection of any Rollover Receivable. As
                                                       9                                                       such, additional discovery is required.
                                                      10                                                       See Larsen Declaration, ¶ 11.
                                                      11
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                                                      12
                   Las Vegas, Nevada 89134
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                                                                 Dated this 30th day of September 2022.
                                                      13
                        (702) 471-7432




                                                                                                          SHEA LARSEN
                                                      14                                                  /s/ Bart K. Larsen, Esq.
                                                                                                          BART K. LARSEN, ESQ.
                                                      15                                                  Nevada Bar No. 8538
                                                                                                          KYLE M. WYANT, ESQ.
                                                      16                                                  Nevada Bar No. 14652
                                                                                                          1731 Village Center Circle, Suite 150
                                                      17                                                  Las Vegas, Nevada 89134
                                                      18                                                  Attorneys for HASelect-Medical Receivables
                                                                                                          Litigation Finance Fund International SP
                                                      19

                                                      20

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                                                                                         CERTIFICATE OF SERVICE
                                                       1
                                                                 1.    On September 30, 2022, I served the following document(s): PLAINTIFF
                                                       2               HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                                       INTERNATIONAL SP’S STATEMENT OF DISPUTED FACTS IN
                                                       3               RESPONSE TO TECUMSEH-INFINITY MEDICAL RECEIVABLE FUND,
                                                                       LP’S MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO DIRECT
                                                       4               PURCHASE RECEIVABLES.
                                                       5         2.    I served the above document(s) by the following means to the persons as listed
                                                                       below:
                                                       6
                                                                       ☒       a.     ECF System:
                                                       7
                                                                       CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       8               clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       9               GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                       RECEIVABLES FUND, LP
                                                      10               ggordon@gtg.legal, bknotices@gtg.legal
                                                      11               MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
              1731 Village Center Circle, Suite 150




                                                                       RECEIVABLES FUND, LP
                                                      12               michael.napoli@akerman.com,
                   Las Vegas, Nevada 89134
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                                                                       cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
                                                      13
                        (702) 471-7432




                                                                       @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      14               ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                                                                       RECEIVABLES FUND, LP
                                                      15               ariel.stern@akerman.com, akermanlas@akerman.com
                                                      16               ☐       b.     United States mail, postage fully prepaid:
                                                      17               ☐       c.     Personal Service:
                                                      18               I personally delivered the document(s) to the persons at these addresses:
                                                      19                               ☐       For a party represented by an attorney, delivery was made by
                                                                       handing the document(s) at the attorney’s office with a clerk or other person in
                                                      20               charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                       in the office.
                                                      21
                                                                                       ☐       For a party, delivery was made by handling the document(s)
                                                      22               to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                       place of abode with someone of suitable age and discretion residing there.
                                                      23
                                                                       ☐       d.      By direct email (as opposed to through the ECF System):
                                                      24               Based upon the written agreement of the parties to accept service by email or a
                                                                       court order, I caused the document(s) to be sent to the persons at the email
                                                      25               addresses listed below. I did not receive, within a reasonable time after the
                                                                       transmission, any electronic message or other indication that the transmission was
                                                      26               unsuccessful.
                                                      27               ☐       e.     By fax transmission:
                                                      28


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                                                                       Based upon the written agreement of the parties to accept service by fax
                                                       1               transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                       numbers listed below. No error was reported by the fax machine that I used. A copy
                                                       2               of the record of the fax transmission is attached.
                                                       3               ☐       f.     By messenger:
                                                       4               I served the document(s) by placing them in an envelope or package addressed to
                                                                       the persons at the addresses listed below and providing them to a messenger for
                                                       5               service.
                                                       6               I declare under penalty of perjury that the foregoing is true and correct.
                                                       7               Dated: September 30, 2022.
                                                       8                                              By: /s/ Bart K. Larsen, Esq,
                                                       9

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                                                      11
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                                                      12
                   Las Vegas, Nevada 89134
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